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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA,
                                              CRIMINAL ACTION NO.
v.
                                              1:17-cr-00069-SCJ-CMS-1
TALANTE FISHER-BLAND

                     REPORT AND RECOMMENDATION

      On February 21, 2017, a grand jury sitting in the Northern District of

Georgia returned a multi-count indictment against Talante Fisher-Bland

(“Defendant”) and five other individuals for charges relating to the purchase and

sale of firearms. [Doc. 1]. Specifically, Defendant was charged with three counts

of aiding and abetting another in making material false statements to a federally

licensed firearms dealer, in violation of 18 U.S.C. § 922(a)(6) and §2, and three

counts of aiding and abetting the transfer of firearms to an out-of-state resident, in

violation of 18 U.S.C. § 922(a)(5) and §2. [Id.]. Defendant has filed a Motion to

Suppress Evidence, in which he seeks to suppress all evidence obtained during a

warrant-authorized search of his residence. [Doc. 75]. For the reasons discussed

below, I RECOMMEND that the motion be DENIED.

                                   I.     FACTS

      On February 28, 2017, United States Magistrate Judge Alan J. Baverman
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signed a search warrant for Defendant’s residence, 105 Concord Terrace,

McDonough, Georgia, 30253 (the “Warrant”). [Doc. 122-1].1 The application for

the Warrant was supported by an Affidavit signed by Special Agent Jonathan P.

Gray of the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) (the

“Affidavit”). [Doc. 93-1]. The Affidavit states that on August 15, 2016, Brittni

Dixon and Martavius Askew purchased multiple firearms from the Liquidation

Outlet, a federally licensed firearm dealer in Georgia. [Id. ¶¶ 12-14]. Ms. Dixon

purchased thirteen firearms, and Mr. Askew purchased ten. [Id. ¶¶ 12, 14-16, 18,

20]. Several of these weapons were later recovered by police in Rochester, New

York, in connection with criminal activity. [Id. ¶¶ 17, 19, 30, 40, 48].

      According to the Affidavit, Special Agent Gray’s investigation revealed that

Defendant drove both Ms. Dixon and Mr. Askew to the Liquidation Outlet on

August 15, 2016 to purchase the guns. [Doc. 93-1 ¶ 22]. Ms. Dixon participated

in the gun purchase at the request of Defendant’s girlfriend, Artia Woolfork, who

had asked Ms. Dixon to help Defendant buy a firearm. [Id. ¶ 21]. Ms. Dixon told

Special Agent Gray that on August 15, 2016, Defendant picked her up in a black

car, and Martavius Askew was in the passenger seat; Defendant drove them to the

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          The Warrant also authorized a search of Defendant’s car, a 2014 Chrysler
200 LX reportedly belonging to Defendant. The portion of the Warrant related to
the car is not at issue in the Motion to Suppress Evidence.

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Liquidation Outlet.   [Id. ¶¶ 22-23].    Upon arriving at the Liquidation Outlet

parking lot, they met five individuals who were introduced to Ms. Dixon as

“people from New York.” [Id. ¶ 23]. At this point, Ms. Dixon was told that

Defendant wanted her to purchase several firearms for the people from New York.

[Id. ¶ 24]. Ms. Dixon told Special Agent Gray that the New York people selected

which firearms that Ms. Dixon was to buy, and one of the New York people paid

the store clerk for the guns. [Id. ¶ 25]. According to Ms. Dixon, she never touched

the guns or the money during the transaction. [Id.].

      On October 3, 2016, Special Agent Gray interviewed Defendant’s girlfriend,

Artia Woolfork, who told him that the firearms purchased on August 15, 2016

were for the New York people, who planned to take the guns to New York. [Doc.

93-1 ¶¶ 32-34]. She also stated that Defendant and Mr. Askew were each being

paid to purchase the guns. [Id. ¶ 34]. Ms. Woolfork also told Special Agent Gray

that she thought Defendant had previously sold four of his personal firearms to the

people from New York sometime between March and August of 2016. [Id.].

      On October 17, 2016 Special Agent Gray interviewed Martavius Askew

about his involvement in the August 15th firearms purchases. [Doc. 93-1 ¶ 42].

During this interview, Mr. Askew stated that he had filled out the paperwork for

the August 15th firearms purchase at the direction of Defendant. [Id. ¶¶ 43-44].

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According to Mr. Askew, after the purchase was made, he gave the box of firearms

to the New York people.         [Id. ¶ 46].    Mr. Askew denied receiving any

compensation for his participation in the purchase. [Id. ¶ 44].

       In September 2016, Special Agent Gray reviewed a Facebook page depicting

Defendant in various poses with firearms and confirmed that Defendant had

purchased two guns early in 2014, a SCCY Industries pistol and a Glock Pistol.

[Doc. 93-1 ¶¶ 31, 37]. He also confirmed that Defendant was not licensed to

import, manufacture, deal, or collect firearms or ammunition. [Id. ¶ 47]. The

following month, Special Agent Gray interviewed Defendant at his residence (the

target location of the Warrant) and spoke with Defendant in the foyer of his house.

[Id. ¶ 35]. When asked if he had purchased any firearms recently, Defendant stated

that he owned a couple of Glock pistols, and then stated that he wanted an attorney.

[Id. ¶ 36].

       Special Agent Gray’s Affidavit closed by stating that Defendant had been

indicted the week before (on February 21, 2017) with “multiple violations of

federal firearms laws,” and that indictment was under seal, meaning that Defendant

was not aware of it. [Doc. 93-1 ¶ 49]. According to Special Agent Gray, “[w]hile




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under felony indictment, [Defendant] is prohibited from possessing firearms.”2

[Id. ¶ 50].

       The application for the search warrant was presented to Judge Baverman

seven days after the indictment was returned, on February 28, 2017, and Judge

Baverman signed it that day. The Warrant authorized law enforcement to seize the

following items:

       a.     Talente Ravon FISHER-BLAND, B/M, DOB 09/08/1992, 5’10, 137
              pounds.

       b.     Any and all firearms and ammunition.

       c.     Any and all ledgers, paperwork, receipts, manuals, or documents in
              any and all media formats regarding the theft, purchase, sale, or
              transfer of firearms and ammunition.

       d.     Any and all containers, boxes, or packaging bearing firearms or
              ammunition information.

       e.     Any and all applications or membership cards associated with
              firearms related clubs or shooting ranges.

       f.     Any and all photographs in any and all media formats, targets, or
              spent cartridge casings consistent with shooting or firearms related
              activity.




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        The Government has since conceded that Special Agent Gray’s statement
that Defendant was prohibited from possessing firearms as of the date of his
indictment was incorrect.

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      g.     Any and all paperwork, identifications, or documents that are indicia
             of ownership or occupancy at 105 Concord Terrace, McDonough,
             Georgia 30253.

      h.     Any and all cell phones or electronic media devices identified as
             being used by Talante FISHER-BLAND.

[Doc. 93-1 at 19; Doc. 122-1]. The Warrant stated that these items could constitute

evidence of a crime, specifically violations of 18 U.S.C. § 922(a)(5) (providing

firearms to non-state resident), 18 U.S.C. § 922(a)(6) (providing false information

to a federally licensed firearms dealer), and 18 U.S.C. § 371 (conspiracy to commit

a federal crime). [Doc. 93-1 at 1].

                                 II.   DISCUSSION

      In his Motion to Suppress Evidence, Defendant argues that the Warrant was

issued without probable cause for two reasons: (1) the information upon which the

Affidavit was predicated was stale; and (2) there was no nexus shown between the

items to be seized and Defendant’s residence. [Doc. 75].

A.    Staleness

      Defendant first argues that the information upon which the Affidavit relies is

too old to support probable cause because more than six months had elapsed

between the date of the gun purchase (August 15, 2016) and the date the warrant

was issued (February 28, 2017). [Doc. 118 at 8-9]. Defendant argues that this

time lapse makes it “highly unlikely—not even close to probably” that any of the
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contraband listed in the Warrant as an item to be seized would be found at his

residence in February 2017. [Id. at 9].

      “For probable cause to exist . . . the information supporting the

government’s application for a search warrant must be timely . . . . [P]robable

cause must exist when the magistrate judge issues the search warrant.” United

States v. Harris, 20 F.3d 445, 450 (11th Cir. 1994), holding modified by United

States v. Toler, 144 F.3d 1423 (11th Cir. 1998). In determining if information is

stale, the Court must look at the unique facts of each case. Id. at 450. As a result,

“[t]here is no particular rule or time limit for when information becomes stale[.]”

United States v. Truitt, No. 1:14-CR-0393-AT, 2015 WL 2452944, at *11 (N.D.

Ga. May 13, 2015) (quoting United States v. Bervaldi, 226 F.3d 1256, 1265 (11th

Cir. 2000)). When looking at the unique facts of a case, the Court must consider

the “nature of the suspected crime (discrete crimes or ongoing conspiracy), habits

of the accused, character of the items sought, and nature and function of the

premises to be searched.” Bervaldi, 226 F.3d at 1265 (quoting Harris, 20 F.3d at

450). Based on the facts presented in this case, I conclude that the information

contained in the Affidavit was not stale at the time Judge Baverman signed the

Warrant.



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       First, with respect to the six and a half month time period, the Eleventh

Circuit has routinely upheld search warrants predicated on information that was

equally old, or older, than six months. See Bervaldi, 226 F.3d at 1264 (upholding

a warrant based on more than six-month-old information); United States v.

Domme, 753 F.2d 950, 955 (11th Cir. 1985), holding modified by United States v.

Dennis, 786 F.2d 1029 (11th Cir. 1986) (holding that nearly six-month-old

information concerning criminal activity was not stale); United States v. Lovvorn,

524 F. App’x 485, 487 (11th Cir. 2013) (determining that nine-to-twelve month old

information was not stale). I conclude that this factor either weighs against a

finding of staleness or, at best, is neutral.

       Second, in terms of the nature of the suspected crime, courts allow a longer

period of time to elapse between information being gathered and a search warrant

being issued where the crime under investigation is ongoing or longstanding. See

United States v. Degaule, 797 F. Supp. 2d 1332, 1356 (N.D. Ga. 2011) (citing

United States v. Batiste, No. 06-20373-CR, 2007 WL 2412837, at *17 (S.D. Fla.

Aug. 21, 2007)). “[W]here an affidavit recites a mere isolated violation then it is

not unreasonable to believe that probable cause quickly dwindles with the passage

of time. On the other hand, if an affidavit recites activity indicating protracted or

continuous conduct, time is of less significance.” Bervaldi, 226 F.3d at 1265

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(citation omitted). Here, the Affidavit presented some evidence that Defendant’s

involvement in illegal gun sales was not a one-time incident.       The Affidavit

contained facts showing that Defendant helped facilitate the purchase of weapons

on August 15, 2016 and had previously sold four of his own personal weapons to

out-of-state purchasers before that date. [Doc. 93-1 ¶ 34]. This evidence, coupled

with Defendant’s admission on October 3, 2016, that he had “a couple of Glock

pistols,” could show that Defendant was engaged in ongoing criminal activity.

      Defendant downplays the information provided by Defendant’s girlfriend,

blames the agent for not providing corroborating information about the four-gun

sale, and states that Defendant has no criminal history and had a carry permit.

[Doc. 118 at 10-11]. These arguments miss the mark. Special Agent Gray stated,

under oath, that Defendant’s girlfriend told him that Defendant “may have sold

four of his personal firearms to the subjects from New York.” [Doc. 93-1 ¶ 34].

Her information was specific: she said that she thought Defendant had sold four of

his own guns to people from New York sometime between March and August of

2016. [Id.]. While Defendant may dispute the fact that he sold four of his personal

guns to people in New York, it was not unreasonable for Special Agent Gray to

include this information in his Affidavit or for Judge Baverman to rely on it in

making his probable cause determination. Moreover, while there may be nothing

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to corroborate the evidence of the prior sale, there also is nothing to indicate what

motive Defendant’s girlfriend might have had to lie. This evidence supports the

inference that the suspected criminal activity was not just a one-time incident, and

in such cases, the Eleventh Circuit has found information in search warrant

applications of even lengthier delays not to be stale based upon the particular facts

and circumstances of those cases.       See e.g., Bervaldi, 226 F.3d at 1264-69

(narcotics, six months); United States v. Hooshmand, 931 F.2d 725, 735-36 (11th

Cir. 1991) (medicaid fraud, eleven months). This factor weighs against a finding

of staleness.

      Third, with respect to the character of the items sought, including firearms

and documents tracking weapon sales and monetary proceeds, courts have upheld

warrants for such evidence, concluding that such items are likely to remain in a

suspect’s home for an extended period of time. See United States v. Piloto, No.

12-20710-CR, 2013 WL 12080746, at *9 (S.D. Fla. Feb. 5, 2013), subsequently

aff’d, 562 F. App’x 907, 913 (11th Cir. 2014) (quoting United States v. Gaines,

127 F.3d 1109 (10th Cir. 1997) (holding that firearms and ammunition have been

understood to be the types of items that tend to remain in a suspect’s home for long

periods of time)); United States v. Pritchett, 40 F. App’x 901, 906 (6th Cir. 2002)

(“Firearms are durable goods and might well be expected to remain in a criminal’s

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possession for a long period of time.”).       This factor, at least with respect to

firearms, weighs against a finding of staleness.

       Finally, the Warrant authorized the search of Defendant’s residence. The

“nature and function” of a house, “generally is not transitory or ephemeral, but

instead endures for some length of time.” Bervaldi, 226 F.3d 1256, 1265 (11th Cir.

2000). This factor weighs against a finding of staleness.

       Each of the factors for determining staleness—the length of time, the nature

of the alleged illegal activity, the character of the things sought, and the nature and

function of the place—either are neutral or weigh in favor of a finding that the

information in the Affidavit was not stale.

B.     Nexus Between Defendant’s Home and the Crime

       Defendant next argues that even if the information was not stale, “the

[A]ffidavit provided no information to indicate that contraband or evidence

connected to the crimes would be found in Mr. Fisher-Bland’s residence.” [Doc.

75 at 2]. Defendant contends that because the firearms purchased on August 15,

2016 were immediately transferred to the New York people, there is nothing in the

Affidavit that would suggest that evidence of a crime would be found in

Defendant’s residence. [Id. at 3]. Moreover, Defendant takes issue with any

assertion that probable cause existed merely based on the evidence that Defendant

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possessed guns in his house.        Defendant points out—and the Government

concedes—that Special Agent Gray was mistaken when he stated in Paragraph 50

of his Affidavit that Defendant was not permitted to possess guns after his

indictment.3   As such, Defendant maintains that there is no nexus between

Defendant’s residence and the alleged crime. [Doc. 118 at 12].

      Indeed, the Affidavit did not include any facts tying Defendant’s residence

to criminal activity, nor did it include any catch-all opinion that the items to be

seized were likely located in Defendant’s residence. There are no facts in the

Affidavit linking Defendant’s home to any criminal activity. I recognize that

Special Agent Gray states that based on his investigation and his experience, a

search of Defendant’s residence was supported by probable cause, but I am

troubled by the conclusory nature of this opinion. [Doc. 93-1 ¶¶ 7, 35, 39]. He

also opined that straw purchasers typically maintain notes and ledgers, and that

straw purchasers also use cell phones and computers, but he provides no opinion

about whether such items are typically kept in criminals’ homes. [Doc. 93-1 ¶¶ 7-

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         The Government perpetuated this error in its initial brief, when it cited 18
U.S.C. § 922(n) and argued that “agents could not just let [Defendant] maintain
possession of the firearms post-indictment since such possession would be illegal.”
[Doc. 93 at 10 n.1]. Defendant correctly points out that his indictment did not
transform him into a prohibited person. Rather, 18 U.S.C. § 922(n) prohibits the
sale, transfer or receipt of firearms while under felony indictment—not the
possession of firearms. [Doc. 118 at 15].

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11]. The only opinion Special Agent Gray provided regarding items expected to

be found in Defendant’s residence was the following: “I have learned through my

training and experience that firearms traffickers and prohibited persons will

regularly pose for photographs while in possession of firearms for posting on

social media sites or for personal display in their residences.” [Doc. 93-1 ¶ 11].

       Concerned by the lack of a nexus between the alleged criminal activity and

Defendant’s home, I held oral argument on September 15, 2017. Following oral

argument, the Government filed a supplemental brief on October 13, 2017. [Doc.

134]. In that brief, the Government argues that it is reasonable for the Court to

infer the necessary nexus, citing United States v. Alfred, No. 1:16-cr-245-WSD-

JFK, 2017 WL 3575004 (N.D. Ga. Aug. 17, 2017), a case in which another judge

in this district found the necessary nexus under similar facts. [Id. at 2-5].

       After careful consideration of this issue, I conclude that I need not resolve

the issue one way or the other because it is evident that the Leon good faith

exception would apply to save the Warrant, even if there was an insufficient nexus

showing.

C.     Good Faith Exception

       Even if the Warrant lacked the requisite showing of a nexus between the

alleged criminal conduct and Defendant’s home, Defendant’s motion to suppress

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must be denied on the basis of the good faith exception to the exclusionary rule

articulated in United States v. Leon, 468 U.S. 897, 922 (1984). Leon held that

even if a search warrant is ultimately found to be unsupported by probable cause,

the Fourth Amendment will not bar the admission of evidence obtained by law

enforcement officers if the officers were acting in reasonable reliance upon the

search warrant. See United States v. Martin, 297 F.3d 1308, 1313 (11th Cir. 2002)

(citing Leon, 468 U.S. at 922). The Eleventh Circuit interpreted Leon as follows:

      The Leon good faith exception applies in all but four limited sets of
      circumstances. . . . The four sets of circumstances are as follows: (1)
      where “the magistrate or judge in issuing a warrant was misled by
      information in an affidavit that the affiant knew was false or would
      have known was false except for his reckless disregard of the truth”;
      (2) “where the issuing magistrate wholly abandoned his judicial role
      in the manner condemned in Lo-Ji Sales, Inc. v. New York, 442 U.S.
      319, 99 S. Ct. 2319, 60 L.Ed.2d 920 (1979); (3) where the affidavit
      supporting the warrant is “so lacking in indicia of probable cause as to
      render official belief in its existence entirely unreasonable”; and (4)
      where, depending upon the circumstances of the particular case, a
      warrant is “so facially deficient—i.e., in failing to particularize the
      place to be searched or the things to be seized—that the executing
      officers cannot reasonably presume it to be valid.”

Id. (internal citations omitted).

      Defendant has argued, but not shown, that the warrant application was so

deficient in establishing a nexus between the crime and the items to be seized so as

to render official belief in the existence of probable cause “entirely unreasonable.”

[Doc. 118 at 16]. Additionally, Defendant has argued, in a conclusory manner,
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that the Affidavit was “so lacking in probable cause no reasonable officer would

presume it valid.” [Id.]. Defendant, however, has presented no substantiating

authority for these assertions. Rather, Defendant cites only to United States v.

Martin, 297 F.3d 1308, 1313 (11th Cir. 2002), a case in which the good faith

exception was upheld, to merely restate the Leon factors.4 [Id.].

      It is not “entirely unreasonable” to assume that persons involved with

illegally selling and purchasing guns would keep items such as guns, ammunition,

paperwork related to the sale and purchase of guns, cell phones, and photographs

of gun-related activity, in their residence, where those items are readily accessible.

Moreover, according to the Affidavit, Special Agent Gray knew from Defendant’s

own admission and the Facebook postings that Defendant was in possession of

multiple firearms, and that there is evidence that on more than one occasion,

Defendant had facilitated illegal gun sales to people in New York. [Doc. 93-1

¶¶ 31, 34, 36-37]. While it may not have been a crime for Defendant to possess

those guns, it is not unreasonable to conclude that such guns could be evidence of

crimes related to their possible illegal sale and transfer. Finally, Special Agent

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        At oral argument, I advised the parties that regardless of my ultimate
conclusion regarding the staleness and nexus issues, I was inclined to apply the
Leon good faith exception to the exclusionary rule. I noted the lack of authority in
Defendant’s brief for a contrary conclusion, and I gave Defendant the opportunity
to supplement his brief. Defendant elected not to supplement his brief.

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Gray averred that, through his training and experience, he had learned that “firearm

traffickers will maintain notes, ledgers, journals, and/or documents for the purpose

of tracking their weapon purchases/sales and monetary proceeds.” [Doc. 93-1 ¶ 9].

Based on this knowledge, Special Agent Gray formed the professional opinion that

the residence likely housed evidence of a crime. [Id. ¶ 7]. While he did not

specifically opine that notes, ledgers, journals, and similar documents are likely to

be kept in a person’s residence, it is not unreasonable to make that inference.

      Defendant attempts to discredit Special Agent Gray’s expertise by noting

that Defendant was not charged with trafficking firearms. [Doc. 118 at 14-15].

According to Defendant, the evidence in the Affidavit revealed, at most, that

Defendant had recruited two people to be straw purchasers, which he distinguishes

from firearm trafficking. [Id.]. I find this distinction unpersuasive. The Affidavit

presented evidence that Defendant organized the illegal straw purchase of multiple

firearms on August 15, 2016 and had illegally sold four guns on an earlier date.

[Doc. 93-1 ¶ 34]. Even if Defendant was not ultimately charged with trafficking

firearms, it was not unreasonable for Special Agent Gray to speak in terms of

firearms trafficking when describing the type of evidence that he thought might be

present at Defendant’s home.



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      I find that the Leon good faith exception to the exclusionary rule applies,

and there is no basis for suppression. See United States v. Martin, 297 F.3d 1308

(11th Cir. 2002).

                              III.   CONCLUSION

      For the foregoing reasons, I RECOMMEND that Defendant’s Motion to

Suppress Evidence [Doc. 75] be DENIED.

      I have now addressed all referred pretrial matters and have not been advised

of any impediments to the scheduling of a trial.       Accordingly, this case is

CERTIFIED READY FOR TRIAL.

      IT IS SO ORDERED, this 16th day of November, 2017.




                                            CATHERINE M. SALINAS
                                            United States Magistrate Judge




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